         Case 3:12-cv-02265-SI        Document 431       Filed 07/30/24     Page 1 of 5


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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON



UNITED STATES OFAMERICA,                           Case No. 3:12-cv-02265-SI

                       Plaintiff,                  JOINT STIPULATED MOTION TO
                                                   ENTER AMENDED SETTLEMENT
   v.                                              AGREEMENT

THE CITY OF PORTLAND,

                       Defendant.


        Plaintiff United States of America (United States) and Defendant City of Portland (City)

(collectively the “Parties”) jointly move this Court for the entry of an order amending the Further

Amended Settlement Agreement (Agreement), previously entered in this matter (ECF No. 408).

In compliance with the procedures required by paragraph 195 of the Agreement, the Parties

propose amendments to Section VIII – Officer Accountability. The proposed amendments

maintain the Section VIII principles, standards and requirements of the City related to


Page 1 – MOTION TO FURTHER AMEND THE SETTLEMENT AGREEMENT
          Case 3:12-cv-02265-SI             Document 431          Filed 07/30/24        Page 2 of 5




investigations into police conduct and officer accountability, while transferring some of those

obligations to a new Community Police Oversight Board that will replace the current

Independent Police Review and Citizen Review Committee, and which will assume some

responsibilities now assigned to the Portland Police Bureau’s Internal Affairs Division. 1

        Paragraph 184 of the Agreement enables the Parties to “jointly stipulate to make changes,

modifications, and amendments to this Agreement, which shall be effective, absent further action

by the Court, 45 days after a joint motion has been filed with the Court.” ECF No. 408-1.

        Portland voters in November 2020 approved creation of the Community Police Oversight

Board 2 (“Oversight System”), whose mission is “to independently investigate Portland Police

Bureau sworn employees and supervisors thereof promptly, fairly, and impartially, to impose

discipline as determined appropriate by the Board, and to make recommendations regarding

police practices, policies and directives to the Portland Police Bureau and with a primary focus

on community concerns.” Portland City Charter Section 2-1001. 3 The Oversight System will

have a duty to investigate all deaths in custody and police uses of deadly force; all complaints of

force that result in injury; complaints of discrimination against a protected class; violations of

federal or state constitutional rights; and other complaints and incidents as determined by the

Oversight System or mandated by City Code. Portland City Charter 2-1008. The Parties

incorporated the establishment of the Oversight System into Section XI – Addendum of

Additional Remedies as Paragraph 195. ECF 408-1.

        As reported to the Court, and in compliance with the timelines and process set by


1
  The proposed amended Section VIII is attached as Exhibit 1. A redline of Section VIII showing the changes from
the current version of Section VIII is attached as Exhibit 2.
2
  If these Section VIII amendments are adopted, the Community Police Oversight Board as stated in Portland City
Charter will be comprised of the Community Board for Police Accountability (“CBPA”) and the Office of
Community-Based Police Accountability (“OCPA”). Collectively, they are referred to as the “Oversight System.”
3
  The full Portland City Charter Article 10 – Community Police Oversight Board is available at
https://www.portland.gov/charter/2/10.

Page 2 – MOTION TO FURTHER AMEND THE SETTLEMENT AGREEMENT
          Case 3:12-cv-02265-SI             Document 431          Filed 07/30/24        Page 3 of 5




Paragraph 195, the Portland City Council on November 15, 2023, approved a resolution

proposing both amendments to Section VIII, and a new chapter of Portland City Code to create

the Board. 4 The Council directed the City Attorney’s Office to: 1) accept and consider further

public comment for a period of 30 days, including at a town hall meeting in December 2023; 2)

fulfill the City’s bargaining obligations with the Portland Police Association (PPA) and Portland

Police Commanding Officers Association, if any; and 3) seek approval from the U.S. Department

of Justice (DOJ) for the proposed code package. The City revised the proposed code based on the

further public consultation, labor negotiations, and comments from DOJ. The updated code

package was posted in clean and redlined versions (to show changes since the Council’s

November vote) on the City website on June 27, 2024, and again, after a further community

forum held July 15, 2024 and other stakeholder feedback. 5

        The Parties ask the Court to enter the stipulated Amended Settlement Agreement Section

VIII attached as Exhibit 1 to this motion as an order of the Court. The Parties believe that as

amended, Section VIII is a fair, adequate, and reasonable way to allow the City to transition to

the new voter-adopted community-led police oversight system while maintaining the important

accountability standards and compliance requirements of the current Section VIII. In an

executive agency’s enforcement action, the Ninth Circuit states that “courts should pay deference

to the judgment of the government agency which has negotiated and submitted the proposed

judgment,” and “[u]nless a consent decree is unfair, inadequate, or unreasonable, it ought to be


4
  The Council resolution, the proposed Section VIII and City Code chapter, the presentation slides and the written
testimony submitted are available here: https://www.portland.gov/council/documents/resolution/adopted/37637
Video of the Council deliberations and public testimony is available here:
https://www.youtube.com/live/G58tplQ1fs8?si=0ezSdEIMmb0Fat-C&t=617
5
  The Mayor’s news release announcing the public posting of the proposed code, and a community forum, is
available here: https://www.portland.gov/wheeler/news/2024/6/27/code-package-implement-community-board-
police-accountability-advances-mayors. The code package is linked from the news release, and available here:
https://portlandor.govqa.us/WEBAPP/_rs/(S(skekecdqthp0jheelws2jfjf))/BusinessDisplay.aspx?sSessionID=&did=8
8&cat=0

Page 3 – MOTION TO FURTHER AMEND THE SETTLEMENT AGREEMENT
         Case 3:12-cv-02265-SI       Document 431       Filed 07/30/24     Page 4 of 5




approved.” SEC v. Randolph, 736 F.2d 525, 529 (9th Cir. 1984).

       The Parties request that the Court hold a Fairness Hearing within the next 45 days to

determine whether the Amended Section VIII is fair, adequate, and reasonable. The Parties and

the Monitor, along with Intervenor PPA, enhanced amicus curiae Albina Ministerial Alliance

Coalition for Justice and Police Reform, and amicus curiae Mental Health Alliance are available

on Thursday, August 29, 2024, and therefore the Parties and PPA respectfully request the Court

schedule it for that day. If the Court approves the amendments, the City will move expeditiously

to adopt the final code, appoint the nominating committee to propose candidates for the new

Board, and to ensure the new oversight system is staffed and operational within the 12 months

provided for in Paragraph 195.

DATED: July 29, 2024


Respectfully submitted,

FOR THE CITY OF PORTLAND:


/s/ Robert Taylor                               /s/ Heidi Brown
ROBERT TAYLOR                                   HEIDI BROWN
City Attorney                                   Chief Deputy City Attorney



/s/ Sarah Ames                                  /s/ Lisa Rogers
SARAH AMES                                      LISA ROGERS
City Attorney                                   City Attorney


FOR THE UNITED STATES:

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                                                  STEVEN H. ROSENBAUM
                                                  Chief, Special Litigation Section

Page 4 – MOTION TO FURTHER AMEND THE SETTLEMENT AGREEMENT
      Case 3:12-cv-02265-SI   Document 431   Filed 07/30/24    Page 5 of 5




                                       /s/ Laura L. Cowall
                                       LAURA L. COWALL
                                       Deputy Chief

                                       /s/ R. Jonas Geissler
                                       R. JONAS GEISSLER
                                       Trial Attorney

                                       /s/ Jared D. Hager
                                       JARED D. HAGER
                                       Trial Attorney

                                       /s/ Amy Senier
                                       AMY SENIER
                                       Trial Attorney




Page 5 – MOTION TO FURTHER AMEND THE SETTLEMENT AGREEMENT
